           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                        CRIMINAL CASE NO. 1:10cr32-3


UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                           vs.                  )      ORDER
                                                )
                                                )
CEDRIC RANDALL BOYD.                            )
                                                )

      THIS MATTER is before the Court on the Government’s Motion to

Dismiss Claim in Forfeiture. [Doc. 223].

      The Government moves to dismiss the claim of Debra Boyd

(Claimant) concerning her interest in $1,600.00 allegedly seized from the

Defendant Cedric Randall Boyd. For grounds, the Government states that

it is not seeking forfeiture of any property from the Defendant in this case.1

The Claimant has not responded to the Government’s Motion.

      For the reasons stated in the Government’s Motion, and for cause

shown, IT IS, THEREFORE, ORDERED that the Motion to Dismiss [Doc.



      1
        The Government does note that the property at issue was the subject of an
administrative forfeiture by the DEA. Documents submitted by the Government indicate
that the Claimant received notice of that administrative proceeding but failed to take any
action. The DEA completed its administrative forfeiture of the $1,600.00 on November
3, 2010.


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223] is ALLOWED, and Debra Boyd’s claim concerning her interest in

$1,600.00 allegedly seized from the Defendant is hereby DISMISSED.

        The Clerk of Court is directed to send copies of this Order to counsel

for the Government, counsel for the Defendant, and the Claimant Debra

Boyd.

        IT IS SO ORDERED.


                                            Signed: January 17, 2011




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